Case: 4:13-cv-00502-CAS Doc. #: 6 Filed: 04/24/13 Page: 1 of 3 PagelD #: 18

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
UNITED STATES OF AMERICA, )
Plaintiff, '
v. 4:13CV00502 CAS
$88,267.00 U.S. Currency '
Defendant.

DECLARATION OF PUBLICATION
Notice of Civil Forfeiture was posted on an official government internet site
(www.forfeiture.gov) for at least 30 consecutive days, beginning on March 22, 2013,
as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime

Claims and Asset Forfeiture Actions, as evidenced by Attachment 1.

I declare under penalty of perjury that the foregoing is true and correct. Executed on

April 24, 2013 at St. Louis, MO.

 

Forfeiture Specialist
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MISSOURI, EASTERN DIVISION
COURT CASE NUMBER: 4:13CV00502 CAS; NOTICE OF FORFEITURE ACTION

Pursuant to 21 U.S.C. § 881, the United States filed a verified Complaint for
Forfeiture against the following property:

$88,267.00 U.S. Currency (13-DEA-574283);

Any person claiming a legal interest in the Defendant Property must file a verified Claim
with the court within 60 days from the first day of publication (March 22, 2013) of this
Notice on this official government internet web site and an Answer to the complaint or
motion under Rule 12 of the Federal Rules of Civil Procedure within 21 days thereafter.
18 U.S.C. § 983(h)(1) permits a court to impose a civil fine on anyone asserting an
interest in property which the court determines was frivolous.

The verified Claim and Answer must be filed with the Clerk of the Court, 111 South 10th
St., Suite 3.300, St. Louis, MO 63102, and copies of each served upon Assistant
United States Attorney Julia M. Wright, Thomas F. Eagleton Courthouse, 111 South
Tenth Street, 20th Floor, St. Louis, MO 63102, or default and forfeiture will be ordered.
See, 18 U.S.C. § 983(a)(4)(A) and Rule G(5) of the Supplemental Rules for Admiralty
or Maritime Claims and Asset Forfeiture Actions.

 
Advertisement Certification Report

 

The Notice of Publication was available on the www. forfeiture.gov web site for at least 18 hours per day
between March 22, 2013 and April 20, 2013. Below is a summary report that identifies the uptime for each
day within the publication period and reports the results of the web monitoring system’s daily check that
verifies that the advertisement was available each day.

U.S. v. $88,267.00 U.S. Currency

Court Case No: 4:13CV00502 CAS
For Asset ID(s): See Attached Advertisement Copy

03/22/2013 . Verified

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Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
